     Case 1:08-cr-10102-JDB Document 71 Filed 01/06/20 Page 1 of 4                  PageID 223




                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

UNITED STATES OF AMERICA,                         )
                                                  )
         Plaintiff,                               )
                                                  )
v.                                                )   Criminal No.: 1:08-cr-10102-JDB
                                                  )
MICHAEL R. LEMONS,                                )
                                                  )
         Defendant.                               )


                            MOTION TO REINSTATE SENTENCE


         The United States respectfully moves for reinstatement of the original sentence ordered

by this Court, and states as follows:

         On July 2, 2009, Defendant pleaded guilty to being a felon in possession of a firearm in

violation of 18 U.S.C. § 922(g). (Doc. 24.) At sentencing, the Court found that Defendant was

an armed career criminal under the Armed Career Criminal Act (“ACCA”), based on his three

prior Tennessee convictions for aggravated burglary, and sentenced Defendant to 180 months of

imprisonment. (See Docs. 50, 51.)

         Defendant filed a motion under 28 U.S.C. § 2255 challenging his ACCA-enhanced

sentence based on the Sixth Circuit’s en banc decision in United States v. Stitt, 860 F.3d 854 (6th

Cir. 2017) (en banc) (“Stitt I”). (No. 1:16-cv-1158, Doc. 1, 7.) Stitt I held that Tennessee’s

aggravated burglary statute is broader than the ACCA definition of burglary because it extends to

mobile structures adapted for overnight accommodation, and thus a conviction under that statute

did not qualify as ACCA burglary. 860 F.3d at 862. This Court granted Defendant’s claim

based on Stitt I, finding that he no longer qualified as an armed career criminal. (No. 1:16-cv-
  Case 1:08-cr-10102-JDB Document 71 Filed 01/06/20 Page 2 of 4                         PageID 224




1158, Doc. 9.) The Court vacated the judgment in this case and sentenced Defendant to time

served. (Doc. 62.) Defendant was released from custody, and the United States appealed.

        The Supreme Court ultimately reversed the Sixth Circuit and held that burglary of a

structure or vehicle that has been adapted or customarily used for overnight accommodation

qualifies as the ACCA-enumerated violent felony of burglary. United States v. Stitt, 139 S. Ct.

399, 405-07 (2018) (“Stitt II”). Following Stitt II, the Sixth Circuit issued a published opinion

holding that Stitt II “necessarily undid this court’s overruling” in Stitt I of its prior precedent.

Brumbach v. United States, 929 F.3d 791, 794 (6th Cir. 2019) (citing United States v. Nance, 481

F.3d 822 (6th Cir. 2007)). In other words, the Brumbach court found that Nance’s holding—that

“‘Tennessee aggravated burglary represents a generic burglary capable of constituting a violent

felony for ACCA purposes’”—“is once again the law of this circuit.” Id. (quoting Nance, 481

F.3d at 888). The Sixth Circuit has since denied a petition for rehearing en banc in Brumbach.

Brumbach v. United States, No. 18-5703/5705, Doc. 44 (6th Cir. Sept. 16, 2019).

        In the appeal of this case, the Sixth Circuit applied the binding precedent of Brumbach to

find that Defendant’s prior convictions for Tennessee aggravated burglary fall within the

ACCA’s generic definition of burglary. United States v. Lemons, No. 17-5945/5947, Doc. 41-2

(6th Cir. Oct. 25, 2019). The court therefore reversed this Court’s grant of habeas relief to

Defendant under § 2255 and remanded “with instructions to reinstate the original sentence.” Id.

The mandate issued on December 17, 2019. (Doc. 42.)

        Pursuant to that mandate, Defendant’s original sentence should be reinstated, and he

should be ordered to surrender to custody to serve the remainder of his 180-month sentence.




                                                   2
  Case 1:08-cr-10102-JDB Document 71 Filed 01/06/20 Page 3 of 4                   PageID 225




                                          CONCLUSION

       For the forgoing reasons, and based on the entire record in this matter, Defendant’s

original sentence should be reinstated.


                                                    Respectfully submitted,

                                                    D. MICHAEL DUNAVANT
                                                    UNITED STATES ATTORNEY

                                            By:     s/ Annie T. Christoff
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                                                3
  Case 1:08-cr-10102-JDB Document 71 Filed 01/06/20 Page 4 of 4                  PageID 226




                               CERTIFICATE OF SERVICE

        I, Annie T. Christoff, Assistant United States Attorney, hereby certify that a true and
correct copy of the foregoing has been forwarded by electronic means via the Court’s electronic
filing system.

       This 6th day of January, 2020.

                                            By:    s/ Annie T. Christoff
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                                               4
